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 Attorneys for the M & B Weiss Family Limited
 Partnership of 1996 c/o Melvyn I. Weiss,
 Melvyn I. Weiss, Barbara J. Weiss, Stephen A. Weiss,
 Leslie Weiss and Gary M. Weiss


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

SECURITIES INVESTOR PROTECTION
CORPORATION,                                            Adv. Pro. No. 08-01789 (BRL)

                     Plaintiff-Applicant,               SIPA LIQUIDATION

              v.                                        (Substantively Consolidated)

BERNARD L. MADOFF INVESTMENT
SECURITIES LLC,

                     Defendant.
In re:

BERNARD L. MADOFF,

                     Debtor.
IRVING H. PICARD, Trustee for the Liquidation
of Bernard L. Madoff Investment Securities LLC,         Adv. Pro. No. 10-04241 (BRL)

                     Plaintiff,
              v.

THE M & B WEISS FAMILY LIMITED
PARTNERSHIP OF 1996 C/O MELVYN I.
WEISS, et al.,
                 Defendants.



                         NOTICE OF DEFENDANTS’ MOTION FOR
                          WITHDRAWAL OF THE REFERENCE
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       PLEASE TAKE NOTICE THAT Defendants’ M & B Weiss Family Limited Partnership

of 1996 c/o Melvyn I. Weiss, Melvyn I. Weiss, Barbara J. Weiss, Stephen A. Weiss, Leslie

Weiss, and Gary M. Weiss (collectively, the “Weiss Defendants”) respectfully move the United

States District Court for the Southern District of New York for an order, pursuant to 28 U.S.C.

Section 157(d), Federal Rule of Bankruptcy Procedure 5011, and Local Bankruptcy Rule 5011-1,

withdrawing the reference of the above-captioned adversary proceeding to the Bankruptcy Court

for the reasons set forth in the accompanying Memorandum of Law in Support of Defendant’s

Motion for Withdrawal of the Reference, the Declaration of Parvin K. Aminolroaya in Support

of Defendants’ Motion for Withdrawal of the Reference, and the exhibits thereto.

       Defendants have made no prior request for the relief sought herein.

       WHEREFORE, Defendants respectfully request that the District Court enter an order

granting the relief requested herein, and such other and further relief as the District Court deems

appropriate.



          7, 2011
September 6,
New York, NY


                                    s/ Parvin K. Aminolroaya
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